          Entered on Docket February 1, 2017                    Below is the Order of the Court.




                                                                _________________________
                                                                Timothy W. Dore
 1                                                              U.S. Bankruptcy Court
                                                                (Dated as of Entered on Docket date above)

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     RCO Legal, P.S.                                                            Honorable Judge Timothy W Dore
10                                                                                                   Chapter 13
     13555 SE 36th St., Ste. 300                                                  Hearing Date: February 1, 2017
11   Bellevue, WA 98006                                                                  Hearing Time: 9:30 a.m.
     Phone: 425.458.2121
12   Fax: 425.458.2131
     www.rcolegal.com
13
                                      UNITED STATES BANKRUPTCY COURT
14                                    WESTERN DISTRICT OF WASHINGTON
                                                 AT SEATTLE
15
     IN RE:
16                                                           NO.: 13-10691-TWD
17   BARJINDER SINGH AND
     HARBHAJAN KAUR                                          AGREED ORDER FOR TREATMENT OF
                                                             CLAIM AND RESOLVING DEBTORS’
18                                                           MOTION DIRECTING CREDITOR TO
                                                  Debtors.
                                                             PROVIDE PAYMENT HISTORY FILED
19                                                           NOVEMBER 6, 2016 (DOC 49)
20

21          IT IS STIPULATED AND AGREED between Barjinder Singh and Harbhajan Kaur, (“Debtor”
22   herein), by and through their attorney of record, Christina Latta Henry, and Bayview Loan Servicing,
23   LLC, (“Creditor” herein), by and through its attorneys, James K. Miersma and RCO Legal, PS, that

24   treatment of Creditor’s claim as to the property located at 4458 S 188TH PL, Seatac, WA 98188 has
     been resolved as follows;
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     Agreed Order for Treatment of Claim - 1                                  RCO LEGAL, P.S.
                                                                              13555 36TH ST., SUITE 300
                                                                                BELLEVUE, WA 98006
                                                                 TELEPHONE (425) 458-2121  FACSIMILE (425) 458-2131

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            1. Creditor has provided an updated payment history satisfactory to Debtor showing the current
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                status of the account.
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            2. The loan is due for the March 1, 2017 payment with a suspense balance of $187.43.
 3          3. All prepetition arrearages that had been owing at the time of filing of the bankruptcy have
 4              been paid.
 5          4. Effective with the March 2017 payment and going forward, all payments shall be paid by the

 6              Debtor directly to Creditor. Payments shall be sent to Creditor at PO Box 1288, Attn; Payment
                Processing, Buffalo, NY, 14240-1288.
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            5. The current payment amount is $1,918.75.
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         IT IS NOTED that because of the agreed order entered into by the parties this matter has been
 9
     resolved.
10       It is hereby ORDERED that the above    stipulation
                                          / / / End of Orderis/ approved
                                                                //       and is binding on the Debtor
     and the Creditor.
11
     PRESENTED BY:                      / / / End of Order / / /
12
     RCO LEGAL, P.S.
13

14   By: /s/ James K. Miersma
            James K. Miersma, WSBA #22062
15
            Attorneys for Bayview Loan Servicing, LLC
16

17   AND BY:

18

19   /s/ Christina Latta Henry
20   Christina Latta Henry, WSBA #
     Attorney for Debtors
21

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25

     Agreed Order for Treatment of Claim - 2                                 RCO LEGAL, P.S.
                                                                             13555 36TH ST., SUITE 300
                                                                               BELLEVUE, WA 98006
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